Case
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

                                                                    Dismissal
MEGAN STRABER,
                                                                    acknowledged. JMS,
               PLAINTIFF                                            DJ 6/13/13

v.                                                       CAUSE NO. 1:13-CV-0348 JMS-DKL
VIRTUOSO SOURCING GROUP, LLC,

               DEFENDANT.


                              AGREED ORDER OF DISMISSAL


       By agreement of the parties, Plaintiff Megan Straber and Defendant Virtuoso Sourcing

Group, LLC, who have entered into a settlement agreement fully and finally resolving this

matter, and the Court being sufficiently advised,

       IT IS HEREBY ORDERED that the complaint in this action is DISMISSED, in its

entirety, with prejudice. Each party shall bear its own costs.
